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 8                          UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA ex rel.
     MELINA EBU-ISAAC and the States of             CASE NO. 2:16-cv-07937-JLS-
11   CALIFORNIA, COLORADO, CONNECTICUT,             ASx
12   DELAWARE, FLORIDA, GEORGIA, HAWAII,
     ILLINOIS, INDIANA, IOWA, LOUISIANA,            Hon. Josephine L. Staton
13   MASSACHUSETTS, MICHIGAN,
14   MINNESOTA, MONTANA, NEVADA, NEW                STIPULATION AND
     JERSEY, NEW MEXICO, NEW YORK,                  [PROPOSED] ORDER OF
15   NORTH CAROLINA, OKLAHOMA, RHODE                DISMISSAL
16   ISLAND, TENNESSEE, TEXAS, VERMONT,
     VIRGINIA, WASHINGTON, the CITY OF
17   CHICAGO and the DISTRICT OF COLUMBIA,
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                  Relator-Plaintiffs,
19   v.
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     INSYS THERAPEUTICS, INC. and LINDEN
21   CARE LLC, LINDEN CARE, INC., LINDEN
22   CARE HOLDINGS, INC., BELHEALTH
     INVESTMENT PARTNERS, LLC, BEHEALTH
23   INVESTMENT MANAGEMENT, LLC,
24   BELHEALTH INVESTMENT FUND, LP,
     QUICK CARE PHARMACY, INC., HAROLD
25   BLUE, DENNIS DRISLANE, and INDER
26   TALLUR,
27             Defendants.
28   ________________________________________
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 1                      [PROPOSED[ ORDER OF DISMISSAL
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           Pursuant to Federal Rule of Civil Procedure 41(a) and the qui tam provisions
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     of the False Claims Act, 31 U.S.C. §3730(b)(1), and pursuant to the terms of the
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     settlement agreement between Relator Melina Ebu-Isaac (“Relator”) and Linden
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     Care, LLC; Linden Care, Inc.; Linden Care Holdings, Inc.; Quick Care Pharmacy,
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     Inc.; Belhealth Investment Partners, LLC; Belhealth Investment Management, LLC;
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     Belhealth Investment Fund, LP; Harold Blue; Inder Tallur; and Dennis Drislane
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     (collectively, “the Settling Defendants”), the parties have filed a Joint Notice of
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     Settlement and Stipulation of Dismissal. Upon Consideration of the Stipulation and
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     Notices of Consent to Dismissal filed by the United States, named states, and City
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     of Chicago it is ORDERED that:
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           1. As to the Relator, the operative complaint and claims asserted therein are
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              dismissed with prejudice;
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           2. As to the United States, Medicaid Participating States, the State of New
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              York and the City of Chicago, the operative complaint and claims asserted
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              therein are dismissed with prejudice as to the Covered Conduct, as defined
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              in Recital C of the Settlement Agreement, and otherwise without prejudice;
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              and
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           3. As to the Medicaid Non-Participating States, the operative complaint and
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              claims asserted therein are dismissed without prejudice.
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                                                IT IS SO ORDERED.
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24                                             BY THE COURT:
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                                                Josephine L. Stanton
                                                United States District Judge
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